        Case 1:16-cr-00053-SPW Document 90 Filed 10/14/16 Page 1 of 2



             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MONTANA
                       BILLINGS DIVISION

UNITED STATES OF AMERICA,                   CR-16-53-BLG-SPW-CSO-03

             Plaintiff,
                                                FINDINGS AND
       vs.                                  RECOMMENDATION OF
                                           U.S. MAGISTRATE JUDGE
ANGEL GUZMAN-BANDERAS
aka Fernando Hernandez-Diaz,

             Defendant.

       The Defendant, by consent, appeared before me under Fed. R.

Crim. P. 11 and entered a plea of guilty to the Superseding

Information, which charges the crime of conspiracy to possess with

intent to distribute methamphetamine in violation of 21 U.S.C. § 846.

       After examining the Defendant under oath, the Court determined:

       1. That the Defendant is fully competent and capable of entering

an informed and voluntary plea to the criminal offense charged against

him;

       2. That the Defendant is aware of the nature of the charge

against him and the consequences of pleading guilty to the charge;

       3. That the Defendant fully understands his pertinent

constitutional rights and the extent to which he is waiving those rights
       Case 1:16-cr-00053-SPW Document 90 Filed 10/14/16 Page 2 of 2



by pleading guilty to the criminal offense charged against him; and

     4. That his plea of guilty to the criminal offense charged against

him is knowingly and voluntarily entered, and is supported by

independent factual grounds sufficient to prove each of the essential

elements of the offense charged.

     The Court further concludes that the Defendant had adequate

time to review the Plea Agreement with counsel, that Defendant fully

understands each and every provision of the agreement and that all of

the statements in the Plea Agreement are true.

     Therefore, I recommend that the Defendant be adjudged guilty of

the charge in the Superseding Information and that sentence be

imposed.

     Objections to these Findings and Recommendation are waived

unless filed and served within fourteen (14) days after the filing of the

Findings and Recommendation. 28 U.S.C. § 636(b)(1)(B); Fed. R. Crim.

P 59(b)(2).

     DATED this 14th day of October, 2016.


                            /S/ Carolyn S. Ostby
                            United States Magistrate Judge
